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   Attorney for Proposed Amici Curiae
   Giffords Law Center to Prevent Gun Violence,
   Brady Center to Prevent Gun Violence, and March for Our Lives

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

    ASSOCIATION OF NEW JERSEY
    RIFLE & PISTOL CLUBS, INC., et
    al.,
              Plaintiffs,
                                              HON. PETER G. SHERIDAN
    v.
    MATTHEW J. PLATKIN, in his                      Civil Action No.
    official capacity as Acting Attorney             3:18-cv-10507
    General of New Jersey, et al.,
                 Defendants.

    MARK CHEESEMAN, et al.,
                 Plaintiffs,                    HON. RENEE M. BUMB
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       1:22-cv-04360
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.

    BLAKE ELLMAN et al.,
                 Plaintiffs,                  HON. PETER G. SHERIDAN
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       3:22-cv-04397
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.
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          CERTIFICATION OF AARON R. MARCU IN SUPPORT OF
                MOTION FOR PRO HAC VICE ADMISSION

   I, Aaron R. Marcu, certify:

         1.    I am a partner in the law firm Freshfields Bruckhaus Deringer US

   LLP, 601 Lexington Ave., 31st Floor, New York, New York 10022. I make this

   certification in support of my pro hac vice admission to this Court pursuant to

   Local Civil Rule 101.1(c)(1) for purposes of acting as counsel for Giffords Law

   Center to Prevent Gun Violence, Brady Center to Prevent Gun Violence, and

   March for Our Lives (together, “proposed amici curiae”).

         2.    I was admitted to the bar of the State of New York on May 4, 1981

   (Bar No. 1726074) and remain in good standing. The office maintaining the roll

   of my admission is: New York State Supreme Court Appellate Division, First

   Department, 27 Madison Avenue, New York, NY 10010.

         3.    I am also a member in good standing of the following federal courts:

                  a. United States Supreme Court (admitted 1990);

                  b. U.S. Court of Appeals for the Second Circuit (admitted 1984);

                  c. U.S. Court of Appeals for the Sixth Circuit (admitted 2003);

                  d. U.S. District Court for the Eastern District of New York

                     (admitted 1981); and

                  e. U.S. District Court for the Southern District of New York

                     (admitted 1981).



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         4.     The offices maintaining the rolls of my membership to these Courts

   are: United States Supreme Court, 1 First Street, NE, Washington, DC 20543;

   United States Court of Appeals for the Second Circuit, 40 Foley Square, New

   York, NY 10007; United States Court of Appeals for the Sixth Circuit, 100 E.

   Fifth Street, Cincinnati, Ohio 45202; United States District Court for the Eastern

   District of New York, 225 Cadman Plaza East, Brooklyn, NY 11201; and United

   States District Court for the Southern District of New York, 500 Pearl Street, New

   York, NY 10007.

         5.     There are no disciplinary proceedings presently pending against me

   in any jurisdiction, and no discipline has been previously imposed upon me as a

   member of the Bar in any jurisdiction.

         6.     I am counsel for proposed amici curiae, and I have been asked to

   represent them for the purpose of submitting an amici curiae brief in the above

   captioned cases.

         7.     I agree to:

                   a. make payment to the New Jersey Lawyer’s Fund for Client

                      Protection as provided by Local Civil Rule 101.1(c)(2) and

                      New Jersey Court Rule 1:28-2(a);

                   b. make payment of $150.00 to the Clerk of this Court in

                      accordance with Local Civil Rule 101.1(c)(3) as amended,

                      within 20 days from the date of the executed Order and abide

                      by the rules of this Court;

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                   c. notify this Court immediately of any matters affecting my

                      standing at the Bar of any other court; and

                   d. have an attorney of record authorized to practice in New

                      Jersey sign all pleadings, briefs, and other papers filed with

                      the Court.

   Pursuant to 28 U.S.C. § 1746 I declare under penalty of perjury that the above

   statements are true and correct.


    Dated: November 10, 2023            Respectfully submitted,
                                        /s/ Aaron R. Marcu
                                        Aaron R. Marcu
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                                        Brady Center to Prevent Gun Violence, and
                                        March for Our Lives




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